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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                         *
                                                 *
                                                 *
           v.                                    *           Criminal No. – JFM-08-0117
                                                *            Civil No. JFM-14-3043
                                                 *
CHI ANTONIO RAY                                  *
                                              ******

                                       MEMORANDUM


       It appearing from the memoranda filed in connection with Chi Antonio Ray’s motion to

vacate that the motion is a “successive” one and that Ray has not obtained permission from the

Court of Appeals for the Fourth Circuit to file the motion, it is, this 11th day of August 2015

       ORDERED that the motion (document 137) be dismissed.


                                      ____/s/_________________
                                      J. Frederick Motz
                                      United States District Judge




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